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               Please find attached a copy of correspondence mailed earlier today.




PRIVILEGED & CONFIDENTIAL
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                                                                                     San Francisco & New York

                                                                                        J. Noah Hagey
                                                                                   hagey@braunhagey.com

                                       December 18, 2017

VIA E-MAIL

Brady C. Williamson, Esq.
Counsel to Chairman of EFH Fee Committee
Godfrey & Kahn, S.C.
One East Main Street, Suite 500
Madison, WI 53703
Email: Bwilliam@gklaw.com

       Re:     Request to Fee Committee – In re Energy Future Holdings Corp., et al. , Case
               No. 14-10979 (CSS)

Dear Mr. Williamson:

        As you know, we serve as special counsel to a majority of unsecured EFIH and EFH
creditors, including Elliott Management Corporation (“Elliot”) and Paloma Partners
(collectively, the “Majority Creditors”). As further detailed below, we write to respectfully
request that the Fee Committee promptly advise all constituent E-Side advisors to cease
attendance at proceedings for which they have no active matter or motion in issue, lest such fees
and costs not be approved.

         Since September, our clients have sought to work with the Committee to understand and
address the expenditure of professional fees in this case. Committee representatives met with
Elliott in late September and held conversations with our office in early November. On
November 15, 2017, we wrote you to memorialize concerns about the quantum of professional
and advisor fees and to formally request that the Committee promptly develop a recommendation
for the Court to address the level of ongoing advisor expenditures. We noted that there are
numerous overlapping professionals (both law firms and financial advisors) actively billing or
accruing fees against the estate. While such activity from multiple sets of advisors may have
been warranted at one point in this case, that no longer is true. The path to confirmation through
Sempra is linear and there are no conflicts requiring involvement from these numerous advisors.

        The Committee has yet to address the Majority Creditors’ request or to present any
recommendation to the Court or to the retained professionals. As a result, professionals continue
to expend estate resources without clear direction or guidance. The recent December 11, 2017
hearing before the Court illustrates the point. The sole issue before the Court was NextEra’s
motion for a stay of the Court’s decision regarding NextEra’s break fee. The only attorneys
whose in-person presence was necessary were lawyers arguing for NextEra, the debtors and
Elliott. Yet, according to the sign-in sheet, at least 22 lawyers attended the hearing, with dozens


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more monitoring telephonically. Many of these were national and local counsel, including senior
partners from out of state who incurred travel fees, costs and hotel expenditures.

        At this point in the case, attorneys with no motion pending before the Court (and/or no
active role in other proceedings, such as a deposition) should not be expending estate resources.
Accordingly, pending our clients’ application to be appointed to the Committee, the Majority
Creditors request that the Committee promptly advise all advisors who might seek payment from
the estate of the following additional guidelines pending final plan confirmation:

                1.      No professional seeking reimbursement or payment by the estate
shall perform services already being performed by other counsel absent a direct conflict
of interest requiring separate representation under applicable bar rules. Professionals
aligned within a similar “box,” such as those representing the EFH Independent Director
and the EFH Indenture Trustee, shall promptly meet and confer and give notice to the
Committee regarding the reduction in fee spend and division of labor to monitor estate
activity. Monitoring activity should be conducted by a junior member of the
professional’s staff, not a senior partner.

                2.      To the extent a client joins in a position being advanced by
debtors’ counsel, the professional representing that client shall file a simple statement of
joinder, rather than preparing and filing a document that mirrors points made by debtors’
counsel.

                3.      Absent a true conflict or motion pending before the Court, no
professional should attend a court hearing, deposition, or other matter in-person. To the
extent a professional believes it necessary to monitor proceedings on behalf of his or her
client, he or she should monitor the proceedings by phone and, if possible, delegate the
task to a junior colleague familiar with the case.

              4.     Professionals should anticipate receiving objection from the Fee
Committee to any application that does not reflect counsel’s compliance with these
guidelines.

       If you have additional suggestions about how to reduce fees and expenses, we would be
happy to discuss them. We look forward to working with you on the important task of
preserving estate assets – hopefully through our clients’ direct membership on the Committee.

                                         Very truly yours,


                                          J. Noah Hagey

Cc:    UCC Representative Peter Kravitz (C/o Brian Gluckstein, Sullivan & Cromwell LLP)
       Acting U.S. Trustee Andrew Vara (C/o Richard Schepacarter, Department of Justice)
       Debtors’ Representative (Paul Keglevic)
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                                                                                      San Francisco & New York

                                                                                   J. Noah Hagey, Esq.
                                                                                     hagey@braunhagey.com


                                         January 4, 2018

VIA EMAIL

Richard Gitlin
Richard Schepacarter
Paul Keglevic
C/o Edward O. Sassower, Esq.
Kirkland & Ellis LLP
601 Lexington Avenue
New York, New York 10022
Email: edward.sassower@kirkland.com


       Re:     Fee Committee Composition

Dear Messrs. Gitlin, Shepacarter and Keglevic:

        As you know, we serve as special counsel to Elliott Associates, L.P., Elliott International,
L.P., and The Liverpool Limited Partnership (collectively “Elliott”) and Paloma Partners
Management Company and Sunrise Partners Limited Partnership (collectively “Paloma” and,
together with Elliott, the “Majority Creditors”) in connection with an examination of
professional fees in the pending bankruptcy proceedings captioned In Re Energy Future
Holdings Corp., et al., Case No. 14-10979 (CSS). We write further to our recent discussions and
the motion practice around the Majority Creditor’s request to have a representative on the Fee
Committee.

         As we indicated in our meet and confer calls before your respective objections and
responses to the motion were filed, the Majority Creditors remain willing to identify an
independent trustee as their representative on the Fee Committee. One that is not employed by
the Majority Creditors or BraunHagey & Borden LLP. In that regard, we would like to propose
James P. Carroll to serve as the Majority Creditors’ representative on the Fee Committee. As
you will see from Jim’s curriculum vitae (a copy of which is attached), he has extensive
experience in complex restructuring matters across varied industries. For example, from January
2001 through January 2004, Jim was the President and Chief Restructuring Officer of Stone &
Webster, Inc. in Boston. From January 2004 through the present, Jim has served as the
Managing Member of Carroll Services, LLC where he has performed a wide range of financial,
restructuring and accounting matters for a wide range of clients. Jim has also served as an
independent director and fiduciary in similar matters. As we mentioned in our meet and confer
calls, Jim would not be compensated by the estate, but would be compensated for his time and


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work on the Fee Committee through the official committee of unsecured creditors by the
Majority Creditors or by the Majority Creditors directly. This should alleviate any concern
expressed in the Statement and Response of the EFH/EFIH Official Committee to the motion
that the Majority Creditors’ representative on the Fee Committee not be the beneficiary of any
contingency fee arrangement. (D.I. 12415 at ¶ 14). We also believe Jim’s appointment is
consistent with the sentiment expressed in the Fee Committee’s Response to the motion that any
newly designated member of the Fee Committee apply “fiduciary judgement untroubled by
conflicting or contradictory motives.” (D.I. 12414 at 12).


         We look forward to discussing this issue further.

                                         Very truly yours,



                                           J. Noah Hagey

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